Case 1:18-cv-00079-MPB-JMS Document 1 Filed 01/10/18 Page 1 of 5 PageID #: 1




                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF INDIANA
                        INDIANAPOLIS DIVISION

PATRICIA K. GRUESSER,                       )
                                            )
              Plaintiff,                    ) CASE NO.
                                            )
v.                                          )
                                            )
OCWEN LOAN SERVICING, LLC                   )
                                            )
                                            )
              Defendant.                    )


                     ORIGINAL COMPLAINT FOR DAMAGES
                                           AND
                           DEMAND FOR TRIAL BY JURY


       NOW COMES the Plaintiff, Patricia K. Gruesser (“Plaintiff”); by and

through her attorney, Ryan R. Frasher, of The Frasher Law Firm, P.C.; for her

Complaint against Ocwen Loan Servicing, LLC. (“Ocwen” or “Defendant”) and

respectfully shows the Court as follows:

I.             INTRODUCTION

       1.     This complaint is filed pursuant to the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692 et seq. for the unlawful collection practices of

Defendants.

       2.     There is abundant evidence of the use of abusive, deceptive, and

unfair debt collection practices contribute to the number of personal bankruptcies,

to marital instability, to the loss of jobs, and to invasion of individual privacy.

Congressional Findings and Declaration of Purpose 15 U.S.C. §§ 1692.
Case 1:18-cv-00079-MPB-JMS Document 1 Filed 01/10/18 Page 2 of 5 PageID #: 2




        3.    It is the purpose of the FDCPA to eliminate abusive debt collection

practices by debt collectors, to insure that those debt collectors who refrain from

using abusive debt collection practices are not competitively disadvantaged, and to

promote consistent State action to protect consumers against debt collection abuses.

Congressional Findings and Declaration of Purpose 15 U.S.C. §§ 1692.

        4.    Abusive debt collection practices are carried on to a substantial

extent in interstate commerce and through means and instrumentalities of such

commerce. Even where abusive debt collection practices are purely intrastate in

character, they nevertheless directly affect interstate commerce. Congressional

Findings and Declaration of Purpose 15 U.S.C. §§ 1692.

II.           JURISDICTION & VENUE

        5.    This Court has jurisdiction under the FDCPA pursuant to 15 U.S.C §

1692k(d).

        6.    Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and

2202.

        7.    Venue is proper before this Court pursuant to 28 U.S.C. §1692k(d)

and 28 U.S.C. §1391(b) where the acts and transactions giving rise to Plaintiff’s

action occurred within this district and where Defendant conduct business in this

district.

III.          PARTIES

        8.    Plaintiff is an adult citizen of the State Indiana.

        9.    Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).


                                          2
Case 1:18-cv-00079-MPB-JMS Document 1 Filed 01/10/18 Page 3 of 5 PageID #: 3




        10.         Defendant, Ocwen, is a Delaware limited liability company with its

principal place of business in West Palm Beach, Florida.

        11.         At all times relevant, Defendant was engaged in the business

collecting “debt” from Plaintiff as that term is defined by 15 U.S.C. §1692a(5) here

in this District.

        12.         Defendant is a “debt collector” as defined by the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692(a)(6).

        13.         Defendant is in the business collecting delinquent consumer debts.

        14.         Defendant uses the mail and interstate telephone system to conduct

business.

IV.                 FACTUAL ALLEGATIONS

        15.         Plaintiff was sued for foreclosure.

        16.         Judgment against Plaintiff was granted in 2010.

        17.         After filing for Chapter 13 Bankruptcy, the stay was lifted and her

bankruptcy case was dismissed in January 2017.

        18.         Defendant has collected, and/or has attempted to collect a debt in

excess of the statutory legal limit from Plaintiff.

        19.         Post-judgment interest shall not exceed eight percent (8%) per

annum. Ind. Code. 24-4.6-1-101.

        20.         A Payoff Quote dated January 11, 2017 demonstrates that Ocwen

was collecting interest, and/or attempting to collect, post-judgment interest at a rate




                                               3
Case 1:18-cv-00079-MPB-JMS Document 1 Filed 01/10/18 Page 4 of 5 PageID #: 4




greater than the eight percent (8%) per annum in the amount of 8.2%. See Exhibit

A- January 11, 2017 Payoff Quote, p. 2.

V.             Count I - FDCPA

       21.     Plaintiff realleges and incorporates herein the allegations of the above

paragraphs and claims in this pleading and are incorporated as if fully rewritten herein.

       22.     The foregoing acts and omissions of Defendant constitute numerous

and multiple violations of the FDCPA, including the following provisions:

               a.      15 U.S.C. § 1692f(1) - Defendant has collected and

attempted to collect a debt which Defendant is not permitted to collect by law.

               b.      15    U.S.C.   §   1692e(2)(A)     - Defendant      made false

representations of the character amount, or legal status of any debt of Plaintiff.

               c.      15 U.S.C. § 1692e(10) – Defendant used false representation

or deceptive means to collect or attempt to collect any debt.

       WHEREFORE, Plaintiff, an individual, demands judgment against

Defendant, for actual and statutory damages, together with interest, costs and

attorney’s fees pursuant to 15 U.S.C. 1692k, and for such other and further relief as

justice may require.

VI.            RELIEF REQUESTED

       WHEREFORE, the Plaintiff respectfully requests that this Court enter

judgment in Plaintiff’s favor and grant the following relief:

       a.      Declare that the Defendant violated the FDCPA and Plaintiff is a

prevailing party;


                                           4
Case 1:18-cv-00079-MPB-JMS Document 1 Filed 01/10/18 Page 5 of 5 PageID #: 5




        b.     Statutory damages from Ocwen’s for violation of the FDCPA in the

amount of one thousand dollars ($1,000.00);

        c.     Actual damages;

        d.     Attorney’s fees, litigation expenses and costs of suit; and

        e.     Grant all proper and just relief.

 VII.          DEMAND FOR JURY TRIAL

        Plaintiff, by counsel, respectfully requests a jury trial on all issues deemed

so triable.

                                               Respectfully submitted,


                                               /s/ Ryan R. Frasher
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                                           5
